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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION



    JESSE JAMES                                         NO: 5:16-cv-00448-SMH-MLH

    Versus                                              JUDGE HICKS

    MRC RECEIVABLES CORP., ET AL                        MAGISTRATE-JUDGE HORNSBY

                PLAINTIFF’S NOTICE OF SETTLEMENT WITH
       REMAINING DEFENDANTS, MRC RECEIVABLES CORP., MIDLAND
      FUNDING, LLC, PERFORMANCEONE FINANCIAL, INC. F/K/A ENCORE
               CAPITAL GROUP, INC. D/B/A MIDLAND CREDIT
        MANAGEMENT, INC., and MIDLAND CREDIT MANAGEMENT, INC.

    MAY IT PLEASE THE COURT:

             Plaintiff, JESSE JAMES, respectfully provides notice to this Honorable Court

    that he has reached a settlement with all remaining defendants, MRC RECEIVABLES

    CORP., MIDLAND FUNDING, LLC, PERFORMANCEONE FINANCIAL, INC.

    F/K/A ENCORE CAPITAL GROUP, INC. D/B/A MIDLAND CREDIT

    MANAGEMENT, INC., and MIDLAND CREDIT MANAGEMENT, INC., and that

    these parties will be exchanging settlement papers and proceeds shortly and thereafter

    submit a joint motion and order to dismiss all remaining claims and all remaining

    defendants, MRC RECEIVABLES CORP., MIDLAND FUNDING, LLC,

    PERFORMANCEONE FINANCIAL, INC. F/K/A ENCORE CAPITAL GROUP, INC.

    D/B/A MIDLAND CREDIT MANAGEMENT, INC., and MIDLAND CREDIT

    MANAGEMENT, INC.




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                                         Respectfully submitted,

                                         BODENHEIMER, JONES & SZWAK, LLC

                                             /s/ David A. Szwak
                                         By: __________________________________
                                             DAVID A. SZWAK, La.BR #21157
                                             416 Travis Street, Suite 1404
                                             Mid South Tower
                                             Shreveport, Louisiana 71101
                                             (318) 424-1400
                                             FAX 221-6555
                                         COUNSEL FOR PLAINTIFF




                                  CERTIFICATE OF SERVICE
           I hereby certify that a copy of the above and foregoing has been served upon all
    counsel of record by placing a copy of same in the United States Mail, properly
    addressed and first class postage pre-paid on this the 20th day of August, 2018.

                                         /s/ David A. Szwak
                                         __________________________________
                                         DAVID A. SZWAK




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